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                     Exhibit 14
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         Vought
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         Russell Vought testifies at Senate
         confirmation hearing for OMB director.
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                                                                                               Dr. Paul (00:00):
              Hungry For More?
                                                                                               … [inaudible 00:00:00] every six
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              blog today.
                                                                                               history, servicing our debt has come
                                                                                               at a cost that is more than our entire
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                                                                                               defense budget. Interest now
                                                                                               exceeds our military budget. This
                    Subscribe                                                                  isn't sustainable. The Office of
                                                                                               Management and Budget, or OMB, is
                                                                                               the largest office within the Executive
                                                                                               Branch, with the primary
              SHARE THIS POST                                                                  responsibility of producing a
                                                                                               workable budget for the president.
                                                                                               Unfortunately, over the past four
                                                                                               years, OMB failed to address our
                                                                                               nation's fiscal situation, and in fact
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                                                                                               took actions that accelerated the
         Under Title 17 U.S.C. Section 107, allowance is                                       country's fiscal crisis.
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                                                                                               follow this law in the future. So my
                                                                                               question for you, sir, is, if you are
                                                                                               confirmed as OMB director again, do
                                                                                               you commit to follow the law and not
                                                                                               allow OMB to withhold funding from
                                                                                               programs that Congress has
                                                                                               appropriated?
                                                                                               Russell Vought (17:29):
                                                                                               Senator, thanks for the question. I will
                                                                                               always commit to upholding the law. I
                                                                                               disagree with the characterization of
                                                                                               the General Accounting Office. My
                                                                                               time at OMB, we followed the law
                                                                                               consistently and we will continue to
                                                                                               do so
                                                                                               Senator Peters (17:43):
                                                                                               So that you can withhold funds that
                                                                                               are appropriated by Congress, you
                                                                                               think that's within the law?
                                                                                               Russell Vought (17:47):
                                                                                               Again, Senator, we did not hold,
                                                                                               inappropriately, funds. We were
                                                                                               engaged in a policy process with
                                                                                               regard to how funding would flow to
                                                                                               Ukraine. We released the funding by
                                                                                               the end of the fiscal year.
                                                                                               Senator Peters (18:01):
                                                                                               Do you believe the Impoundment
                                                                                               Control Act of 1974 is the law of the
                                                                                               land that you must follow?
                                                                                               Russell Vought (18:07):
                                                                                               It is the law of the land. As you know,
                                                                                               the President has run on that issue.
                                                                                               He believes it's unconstitutional. For
                                                                                               200 years, presidents had the ability
                                                                                               to spend less than an appropriation if
                                                                                               they could do it for less. And we have
                                                                                               seen the extent to which this law has
                                                                                               contributed to waste, fraud, and
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                                                                                               abuse. But as it pertains to the
                                                                                               parameters of how we would use
                                                                                               that, that's something that his team
                                                                                               will have to consider when they're
                                                                                               confirmed in these roles.
                                                                                               Senator Peters (18:33):
                                                                                               So you know that the Impoundment
                                                                                               Control Act has created a process
                                                                                               that's been held by courts over and
                                                                                               over again. Courts in Train versus
                                                                                               City of New York have consistently
                                                                                               rejected attempts by presidents to
                                                                                               withhold funds unless Congress
                                                                                               clearly allows it. And Clinton versus
                                                                                               New York also determined that laws
                                                                                               which allow the president to
                                                                                               unilaterally cancel appropriations are
                                                                                               unconstitutional. Correct me if I'm
                                                                                               wrong, but is there anywhere in the
                                                                                               Constitution gives the OMB director
                                                                                               to determine whether or not a law is
                                                                                               unconstitutional?
                                                                                               Russell Vought (19:05):
                                                                                               Again, there are 200 years of
                                                                                               practice by the presidents of the
                                                                                               United States have used this-
                                                                                               Senator Peters (19:10):
                                                                                               So you're saying these courts are
                                                                                               wrong? That's fine if they're wrong,
                                                                                               but these are the laws of the land
                                                                                               right now.
                                                                                               Russell Vought (19:15):
                                                                                               I'm aware that they're the laws of the
                                                                                               land and the caseload that is on the
                                                                                               books. And this is something that the
                                                                                               administration will consider when
                                                                                               they're in these roles, if confirmed.
                                                                                               Senator Peters (19:24):


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